         Case 1:22-cv-00189-N/A Document 12             Filed 08/11/22   Page 1 of 5




             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                 )
EXPORT PACKERS COMPANY LIMITED,                  )
                                                 )
                        Plaintiff,               )
                                                 )
      v.                                         ) Court No. 22-00189
                                                 )
UNITED STATES,                                   )
                                                 )
                        Defendant.               )
________________________________________________)

                                            ORDER

       Upon consideration of the Consent Motion to Intervene As of Right filed by the

American Honey Producers Association and the Sioux Honey Association, it is hereby

       ORDERED that the Consent Motion to Intervene As of Right is granted; and it is further

       ORDERED that the American Honey Producers Association and the Sioux Honey

Association are Defendant-Intervenors in this action.



                                             ___________________________________
                                                            Judge

Dated: ______________________, 2022
         New York, New York
         Case 1:22-cv-00189-N/A Document 12             Filed 08/11/22      Page 2 of 5




             UNITED STATES COURT OF INTERNATIONAL TRADE
________________________________________________
                                                 )
EXPORT PACKERS COMPANY LIMITED,                  )
                                                 )
                        Plaintiff,               )
                                                 )
      v.                                         ) Court No. 22-00189
                                                 )
UNITED STATES,                                   )
                                                 )
                        Defendant.               )
________________________________________________)

                    CONSENT MOTION TO INTERVENE AS OF RIGHT

       Pursuant to U.S. Court of International Trade (“USCIT”) Rules 7(b) and 24(a), the

American Honey Producers Association and the Sioux Honey Association (hereinafter

“Movants” or “proposed Defendant-Intervenors”), respectfully and timely move this Court for an

Order granting Movants leave to intervene as of right as Defendant-Intervenors in the above-

captioned action.

I.     CONSENT OF THE PARTIES

       This Motion is made following consultation with and the consent of counsel to Plaintiff

and Defendant. On August 11, 2022, Melissa M. Brewer, counsel to proposed Defendant-

Intervenors, sought and obtained consent to this motion from Gregory Husisian, Esq., counsel to

Plaintiff, Export Packers Company Limited, and from Andrea C. Casson, Esq., of the U.S.

International Trade Commission on behalf of the United States.

II.    TIMELINESS

       This Motion is timely filed under USCIT Rule 24(a)(3) as it is being filed within 30 days

after the filing of Plaintiff’s Complaint on August 4, 2022 (ECF No. 11).

III.   DISCUSSION
         Case 1:22-cv-00189-N/A Document 12                 Filed 08/11/22   Page 3 of 5




       The statute, 28 U.S.C. § 2631(j), states that a party “who would be adversely affected or

aggrieved by a decision in a civil action” pending in this Court may intervene as of right in that

action brought under section 516A of the Tariff Act of 1930 (“the Act”), as amended, if that

party is an “interested party” who was a “party to the proceeding in connection with which the

matter arose.” See 19 U.S.C. § 1516a. Proposed Defendant-Intervenors meet the statutory

requirements for intervention as of right in this action.

       For purposes of 28 U.S.C. § 2631(j)(1)(B), an “interested party” is defined as having “the

meaning given such term in section 771(9) of the Tariff Act of 1930.” 28 U.S.C. § 2631(k)(1).

In turn, Section 771(9) of the Act provides that “interested party” means, inter alia, “a

manufacturer, producer, or wholesaler in the United States of a domestic like product” or “a

trade or business association a majority of whose members manufacture, produce, or wholesale a

domestic like product in the United States.” 19 U.S.C. § 1677(9)(C) & (E). The individual

members of the American Honey Producers Association and the Sioux Honey Association are

manufacturers, producers, and/or wholesalers in the United States of the domestic like product

like the subject imports of raw honey from the Socialist Republic of Vietnam (“Vietnam”) that

are covered by the underlying import injury investigation. Accordingly, Proposed Defendant-

Intervenors are interested parties within the meaning of sections 771(9)(C) and (E) and

516A(f)(3) of the Act. See 19 U.S.C. § 1677(9)(C), (E); 19 U.S.C. § 1516a(f)(3).

       Moreover, proposed Defendant-Intervenors are interested parties that were parties to the

proceeding before the U.S. International Trade Commission (“Commission” or “USITC”) that

led to the determination being challenged in this action. The Complaint in this action contests

certain factual findings and legal conclusions that resulted in the affirmative finding of critical

circumstances regarding imports of raw honey from Vietnam. See Raw Honey From Argentina,
          Case 1:22-cv-00189-N/A Document 12             Filed 08/11/22     Page 4 of 5




Brazil, India, and the Socialist Republic of Vietnam: Determinations, 87 Fed. Reg. 33,831,

33,831 n.3 (USITC June 3, 2022). The Commission’s views are contained in the following

publication: Raw Honey from Argentina, Brazil, India, and Vietnam, USITC Pub. 5327 (Final)

(USITC May 2022).

        As petitioners and participants in the proceeding below, proposed Defendant-Intervenors

have a strong interest in the resolution of the issues raised in this appeal. Proposed Defendant-

Intervenors are parties that would be adversely affected by a ruling favorable to Plaintiff in this

civil action on the aspects of the final determination that this appeal challenges. Accordingly,

pursuant to 28 U.S.C. § 2631(j)(1)(B), proposed Defendant-Intervenors are entities that “would

be adversely affected or aggrieved” by the action now pending in this Court, and is each an

interested party “who was a party to the proceeding in connection with which the matter arose.”

Under Rule 24(a) of this Court’s Rules and 28 U.S.C. § 2631(j)(1)(B), the American Honey

Producers Association and the Sioux Honey Association, therefore, have standing to intervene in

this action as a matter of right.

                                                *   *    *
         Case 1:22-cv-00189-N/A Document 12                Filed 08/11/22   Page 5 of 5




       For the preceding reasons, American Honey Producers Association and the Sioux Honey

Association respectfully request that this Court grant this Consent Motion and allow them to

intervene as Defendant-Intervenors in this civil action.



                                                  Respectfully submitted,

                                                 /s/ Melissa M. Brewer
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                                                 Counsel to Proposed Defendant-Intervenors
                                                 American Honey Producers Association and the
                                                 Sioux Honey Association

Dated: August 11, 2022
